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EXHIBIT C

 
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Eric Tennen

From: ECFnotice@mad.uscouris.gov

Sent: Tuesday, October 04, 2011 2:55 PM

To: CourtCopy@mad.uscourts.gov

Subject: Activity in Case 1:07-cv-12056-PBS United States of America v. Shields Order on Motion for Hearing
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United States District Court
District of Massachusetts
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The following transaction was entered on 10/4/2011 at 2:55 PM EDT and filed on 10/3/2011

Case Name: United States of America v. Shields
Case Number: 1:07-cv-12056-PBS
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WARNING: CASE CLOSED on 03/08/2011
Document Number: 272

Docket Text:

Judge Patti 8. Saris: ENDORSED ORDER entered re [271] Motion for Hearing:
"Petitioner shall first seek a Status Conference in Maine to see if the Court can
order better services, and if necessary, concurs to a transfer of

jursidiction.” (Anderson, Jennifer)

1:07-cv-12056-PBS Notice has been electronically mailed to:

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